                  Case 08-51297                              Doc 1                Filed 12/31/08                      Entered 12/31/08 13:33:10                                             Page 1 of 31
Official Form 1 (1/08)
                                                                    United States Bankruptcy Court                                                                                            Voluntary Petition
                                                                           DISTRICT OF CONNECTICUT
 Name of Debtor             (if individual, enter Last, First, Middle):                                               Name of Joint Debtor                 (Spouse)(Last, First, Middle):


 Patterson, Daymon S.
 All Other Names used by the Debtor in the last 8 years                                                               All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                                          (include married, maiden, and trade names):
 NONE


 Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN                                     Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN
 (if more than one, state all):   0202                                                                                (if more than one, state all):
 Street Address of Debtor                  (No. & Street, City, and State):                                           Street Address of Joint Debtor                     (No. & Street, City, and State):
 151 Wooster Ave
 Stratford CT
                                                                                              ZIPCODE                                                                                                            ZIPCODE
                                                                                              06615
 County of Residence or of the                                                                                        County of Residence or of the
 Principal Place of Business:                    Fairfield                                                            Principal Place of Business:
 Mailing Address of Debtor                  (if different from street address):                                       Mailing Address of Joint Debtor                     (if different from street address):

 SAME
                                                                                              ZIPCODE                                                                                                            ZIPCODE


 Location of Principal Assets of Business Debtor                                                                                                                                                                  ZIPCODE
 (if different from street address above): NOT APPLICABLE


 Type of Debtor             (Form of organization)
                                                                             Nature of Business                                               Chapter of Bankruptcy Code Under Which
                                                                          (Check one box.)                                                    the Petition is Filed  (Check one box)
               (Check one box.)
                                                                          Health Care Business                                  Chapter 7                                          Chapter 15 Petition for Recognition
     Individual (includes Joint Debtors)
                                                                          Single Asset Real Estate as defined                   Chapter 9                                           of a Foreign Main Proceeding
     See Exhibit D on page 2 of this form.
                                                                          in 11 U.S.C. § 101 (51B)                              Chapter 11
     Corporation (includes LLC and LLP)                                                                                         Chapter 12                                         Chapter 15 Petition for Recognition
                                                                          Railroad                                                                                                 of a Foreign Nonmain Proceeding
     Partnership                                                                                                                Chapter 13
                                                                          Stockbroker
     Other (if debtor is not one of the above                                                                                              Nature of Debts        (Check one box)
                                                                          Commodity Broker
     entities, check this box and state type of
                                                                                                                             Debts are primarily consumer debts, defined                                    Debts are primarily
     entity below                                                         Clearing Bank
                                                                                                                             in 11 U.S.C. § 101(8) as "incurred by an                                       business debts.
                                                                          Other                                              individual primarily for a personal, family,
                                                                                                                             or household purpose"
                                                                            Tax-Exempt Entity
                                                                              (Check box, if applicable.)                                               Chapter 11 Debtors:
                                                                          Debtor is a tax-exempt organization         Check one box:
                                                                          under Title 26 of the United States             Debtor is a small business as defined in 11 U.S.C. § 101(51D).
                                                                          Code (the Internal Revenue Code).               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).

                                  Filing Fee         (Check one box)                                                  Check if:
     Full Filing Fee attached                                                                                           Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
    Filing Fee to be paid in installments (applicable to individuals only). Must attach                                 to insiders or affiliates) are less than $2,190,000.
    signed application for the court’s consideration certifying that the debtor is unable                             -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- --
    to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                            Check all applicable boxes:
                                                                                                                           A plan is being filed with this petition
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must attach
    signed application for the court's consideration. See Offi cial Form 3B.                                               Acceptances of the plan were solicited prepetition from one or more
                                                                                                                           classes of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                                     THIS SPACE IS FOR COURT USE ONLY

        Debtor estimates that funds will be available for distribution to unsecured creditors.
        Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
        distribution to unsecured creditors.
 Estimated Number of Creditors

 1-49               50-99             100-199            200-999             1,000-         5,001-          10,001-           25,001-            50,001-            Over
                                                                             5,000          10,000          25,000            50,000             100,000            100,000
 Estimated Assets
  $0 to             $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001       $500,000,001       More than
  $50,000           $100,000          $500,000           to $1               to $10         to $50          to $100           to $500            to $1 billion      $1 billion
                                                         million             million        million         million           million
 Estimated Liabilities
  $0 to             $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001       $500,000,001       More than
  $50,000           $100,000          $500,000           to $1               to $10         to $50          to $100           to $500            to $1 billion      $1 billion
                                                         million             million        million         million           million
               Case 08-51297                   Doc 1           Filed 12/31/08                  Entered 12/31/08 13:33:10                                   Page 2 of 31
Official Form 1 (1/08)                                                                                                                                                FORM B1, Page   2
 Voluntary Petition                                                                          Name of Debtor(s):
  (This page must be completed and filed in every case)
                                                                                             Daymon S. Patterson
                         All Prior Bankruptcy Cases Filed Within Last 8 Years                       (If more than two, attach additional sheet)
 Location Where Filed:                                                               Case Number:                                                 Date Filed:
 NONE
 Location Where Filed:                                                               Case Number:                                                 Date Filed:


  Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                  (If more than one, attach additional sheet)
 Name of Debtor:                                                                      Case Number:                                                Date Filed:
 NONE
 District:                                                                            Relationship:                                               Judge:


                                   Exhibit A                                                                                             Exhibit B
   (To be completed if debtor is required to file periodic reports                                                      (To be completed if debtor is an individual
   (e.g., forms 10K and 10Q) with the Securities and Exchange                                                           whose debts are primarily consumer debts)
   Commission pursuant to Section 13 or 15(d) of the Securities                        I, the attorney for the petitioner named in the foregoing petition, declare that I
   Exchange Act of 1934 and is requesting relief under Chapter 11)                     have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12
                                                                                       or 13 of title 11, United States Code, and have explained the relief available under
                                                                                       each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).
       Exhibit A is attached and made a part of this petition                          X /s/ Joseph J. D'Agostino, Jr.                                                     12/31/2008
                                                                                              Signature of Attorney for Debtor(s)                                             Date


                                                                                        Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
 or safety?
         Yes, and exhibit C is attached and made a part of this petition.
         No

                                                                                    Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

           Exhibit D completed and signed by the debtor is attached and made part of this petition.
 If this is a joint petition:
         Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                    Information Regarding the Debtor - Venue
                                                                          (Check any applicable box)

     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
     preceding the date of this petition or for a longer part of such 180 days than in any other District.
     There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
     Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
     principal place of business or assets in the United States but is a defendant in an action proceeding [in a federal or state court] in this District, or
     the interests of the parties will be served in regard to the relief sought in this District.

                                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                   (Check all applicable boxes.)
             Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)

             Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
             entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

             Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day
             period after the filing of the petition.

             Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                 Case 08-51297                           Doc 1   Filed 12/31/08       Entered 12/31/08 13:33:10                             Page 3 of 31
Official Form 1 (1/08)                                                                                                                                 FORM B1, Page   3
 Voluntary Petition                                                                 Name of Debtor(s):
   (This page must be completed and filed in every case)
                                                                                      Daymon S. Patterson
                                                                             Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                     Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this
petition is true and correct.                                                     I declare under penalty of perjury that the information provided in this
[If petitioner is an individual whose debts are primarily consumer debts          petition is true and correct, that I am the foreign representative of a debtor
and has chosen to file under chapter 7] I am aware that I may proceed             in a foreign proceeding, and that I am authorized to file this petition.
under chapter 7, 11, 12, or 13 of title 11, United States Code,
understand the relief available under each such chapter, and choose to            (Check only one box.)
proceed under chapter 7.
                                                                                      I request relief in accordance with chapter 15 of title 11, United States
[If no attorney represents me and no bankruptcy petition preparer
                                                                                      Code. Certified copies of the documents required by 11 U.S.C. § 1515 are
signs the petition] I have obtained and read the notice required by
                                                                                      attached.
11 U.S.C. §342(b)
                                                                                      Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States            chapter of title 11 specified in this petition. A certified copy of the order
Code, specified in this petition.                                                     granting recognition of the foreign main proceeding is attached.
 X /s/ Daymon S. Patterson
     Signature of Debtor                                                          X
                                                                                      (Signature of Foreign Representative)
 X
     Signature of Joint Debtor

                                                                                      (Printed name of Foreign Representative)
     Telephone Number (if not represented by attorney)
                                                                                      12/31/2008
     12/31/2008                                                                       (Date)
     Date

                                  Signature of Attorney*
                                                                                               Signature of Non-Attorney Bankruptcy Petition Preparer
 X /s/ Joseph J. D'Agostino, Jr.                                                  I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Signature of Attorney for Debtor(s)                                          preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                  compensation and have provided the debtor with a copy of this document
     Joseph J. D'Agostino, Jr. ct13521
     Printed Name of Attorney for Debtor(s)
                                                                                  and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                                  and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to
     The Law Offices of Joseph J. D'Agostino                                      11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
     Firm Name                                                                    bankruptcy petition preparers, I have given the debtor notice of the
                                                                                  maximum amount before preparing any document for filing for a debtor or
     1062 Barnes Road                                                             accepting any fee from the debtor, as required in that section. Official Form
     Address                                                                      19 is attached.
     Suite 304
     Wallingford CT                        06492
                                                                                  Printed Name and title, if any, of Bankruptcy Petition Preparer
     203-265-5222
     Telephone Number
                                                                                  Social-Security number (If the bankruptcy petition preparer is not an
     12/31/2008                                                                   individual, state the Social-Security number of the officer, principal,
     Date                                                                         responsible person or partner of the bankruptcy petition preparer.) (Required
                                                                                  by 11 U.S.C. § 110.)
 *In a case in which § 707(b)(4)(D) applies, this signature also
 constitutes a certification that the attorney has no knowledge after
 an inquiry that the information in the schedules is incorrect.                    Address

                    Signature of Debtor (Corporation/Partnership)
                                                                                X
I declare under penalty of perjury that the information provided in
this petition is true and correct, and that I have been authorized to
file this petition on behalf of the debtor.                                         Date
                                                                                  Signature of bankruptcy petition preparer or officer, principal, responsible
The debtor requests the relief in accordance with the chapter of title            person, or partner whose Social-Security number is provided above.
11, United States Code, specified in this petition.                               Names and Social-Security numbers of all other individuals who prepared or
                                                                                  assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                  not an individual.
 X
     Signature of Authorized Individual



     Printed Name of Authorized Individual
                                                                                  If more than one person prepared this document, attach additional sheets
                                                                                  conforming to the appropriate official form for each person.
     Title of Authorized Individual                                               A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                  and the Federal Rules of Bankruptcy Procedure may result in fines or
     12/31/2008                                                                   imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Date
               Case 08-51297
B 1D (Official Form 1, Exhibit D) (12/08)
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                                            UNITED STATES BANKRUPTCY COURT
                                                 DISTRICT OF CONNECTICUT


In re Daymon S. Patterson                                                                                                 Case No.
                                                                                                                          Chapter 7


                                            Debtor(s)




            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                             CREDIT COUNSELING REQUIREMENT
     WARNING: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and
you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors' collection activities.


       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate
Exhibit D. Check one of the five statements below and attach any documents as directed.

                 1. Within the 180 days before the filing of my bankruptcy case,            I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.


                 2. Within the 180 days before the filing of my bankruptcy case,            I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but I do not I have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 15 days after your bankruptcy case is filed.


                 3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the
services during the five days from the time I made my request, and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so I can file my bankruptcy case now.
[Summarize exigent circumstances here.]




   If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after you
file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy of any
debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your case.
Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may also be
dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit counseling
briefing.
                Case 08-51297
 B 1D (Official Form 1, Exhibit D) (12/08)
                                             Doc 1         Filed 12/31/08              Entered 12/31/08 13:33:10                          Page 5 of 31


               4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement]
[Must be accompanied by a motion for determination by the court.]
                           Incapacity. (Defined in 11 U.S.C. § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
                  so as to be incapable of realizing and making rational decisions with respect to financial responsibilities.);
                           Disability. (Defined in 11 U.S.C. § 109 (h)(4) as physically impaired to the extent of being unable, after
                  reasonable effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                           Active military duty in a military combat zone.


                  5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
 of 11 U.S.C. § 109(h) does not apply in this district.


         I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:       /s/ Daymon S. Patterson
 Date:    12/31/2008
                   Case 08-51297                 Doc 1
B6 Declaration (Official Form 6 - Declaration) (12/07)
                                                               Filed 12/31/08               Entered 12/31/08 13:33:10                         Page 6 of 31



                                               UNITED STATES BANKRUPTCY COURT
                                                   DISTRICT OF CONNECTICUT

   In re Daymon S. Patterson                                                                                                         Case No.
                                                                                                                                     Chapter 7


                                                                                                                       / Debtor




                                                              SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine
the total amount of the debtor's liabilities. Individual debtors must also complete the "Statistical Summary of Certain Liabilities and Related Data"if they file a case under chapter
7, 11, or 13.




                                             Attached            No. of
       NAME OF SCHEDULE                      (Yes/No)            Sheets                   ASSETS                           LIABILITIES                           OTHER

 A-Real Property
                                                Yes                 1           $                      0.00

 B-Personal Property
                                                Yes                 3           $               8,282.91

 C-Property Claimed as
   Exempt
                                                Yes                 1

 D-Creditors Holding Secured
   Claims
                                                Yes                 1                                              $              1,907.00

 E-Creditors Holding
   Unsecured Priority Claims                    Yes                 1                                              $                      0.00
   (Total of Claims on Schedule E)

 F-Creditors Holding
   Unsecured Nonpriority Claims
                                                Yes                 3                                              $           186,698.29

 G-Executory Contracts and
   Unexpired Leases
                                                Yes                 1

 H-Codebtors
                                                Yes                 1

 I-Current Income of Individual
   Debtor(s)
                                                Yes                 1                                                                                 $               3,132.49

 J-Current Expenditures of
   Individual Debtor(s)
                                                Yes                 1                                                                                 $               3,043.33

                                  TOTAL                           14             $               8,282.91           $           188,605.29
                  Case 08-51297                 Doc 1
B6 Declaration (Official Form 6 - Declaration) (12/07)      Filed 12/31/08            Entered 12/31/08 13:33:10                        Page 7 of 31



                                                UNITED STATES BANKRUPTCY COURT
                                                    DISTRICT OF CONNECTICUT

   In re Daymon S. Patterson                                                                                                     Case No.
                                                                                                                                 Chapter 7



                                                                                                               / Debtor



       STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C § 159)
 If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. § 101(8), filing a case under
 chapter 7, 11, or 13, you must report all information requested below.


     Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any information here.



 This information is for statistical purposes only under 28 U.S.C. § 159.

 Summarize the following types of liabilities, as reported in the Schedules, and total them.

   Type of Liability                                                                                              Amount
   Domestic Support Obligations (from Schedule E)                                                                 $       0.00
   Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                                     $       0.00
   Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
   disputed or undisputed)                                                                                        $       0.00
   Student Loan Obligations (from Schedule F)                                                                     $       0.00
   Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on Schedule E              $       0.00
   Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)                      $       0.00
                                                                                                     TOTAL        $       0.00

 State the following:


   Average Income (from Schedule I, Line 16)                                                                          $   3,132.49
   Average Expenses (from Schedule J, Line 18)                                                                        $   3,043.33
   Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C Line 20)                         $   3,991.87
 State the following:


   1. Total from Schedule D, "UNSECURED PORTION, IF ANY" column                                                                                  $   1,907.00
   2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY" column                                                     $   0.00
   3. Total from Schedule E, "AMOUNT NOT ENTITLED TO PRIORITY, IF ANY" column                                                                    $   0.00
   4. Total from Schedule F                                                                                                                      $   186,698.29
   5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                                                  $   188,605.29
                  Case 08-51297                 Doc 1
B6 Declaration (Official Form 6 - Declaration) (12/07)
                                                              Filed 12/31/08           Entered 12/31/08 13:33:10                 Page 8 of 31


In re Daymon S. Patterson                                                                                                 Case No.
                                                         Debtor                                                                                               (if known)




                                DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                DECLARATION UNDER PENALTY OF PERJURY BY AN INDIVIDUAL DEBTOR

      I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of      15     sheets, and that they are true and
      correct to the best of my knowledge, information and belief.



      Date:   12/31/2008                                      Signature   /s/ Daymon S. Patterson
                                                                          Daymon S. Patterson




                                                                     [If joint case, both spouses must sign.]



     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                 Case 08-51297
FORM B6A (Official Form 6A) (12/07)
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In re Daymon S. Patterson                                                                             ,                 Case No.
                                      Debtor(s)                                                                                                        (if known)


                                                  SCHEDULE A-REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant
community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s
own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in
the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of
Property.”
Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts
and Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to
hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as
Exempt.

                                                                                                                            Current
              Description and Location of Property                              Nature of Debtor's                                               Amount of
                                                                                                                             Value
                                                                               Interest in Property                    of Debtor's Interest,
                                                                                                                                               Secured Claim
                                                                                                        Husband--H     in Property Without
                                                                                                           Wife--W        Deducting any
                                                                                                           Joint--J     Secured Claim or
                                                                                                      Community--C          Exemption


None                                                                                                                                                        None




No continuation sheets attached                                                                  TOTAL $                             0.00
                                                                         (Report also on Summary of Schedules.)
                      Case 08-51297
B6B (Official Form 6B) (12/07)
                                                       Doc 1   Filed 12/31/08         Entered 12/31/08 13:33:10                       Page 10 of 31


In re Daymon S. Patterson                                                                                    ,                  Case No.
                         Debtor(s)                                                                                                                                  (if known)


                                                        SCHEDULE B-PERSONAL PROPERTY
Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an
“x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with
the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community
own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the
property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor
child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                                                         Current
               Type of Property                    N              Description and Location of Property                                                    Value
                                                                                                                                                   of Debtor's Interest,
                                                   o                                                                           Husband--H          in Property Without
                                                                                                                                   Wife--W            Deducting any
                                                   n                                                                                                Secured Claim or
                                                                                                                                  Joint--J
                                                   e                                                                         Community--C               Exemption


1. Cash on hand.                                   X

2. Checking, savings or other financial                Peoples United Bank - Checking                                                                            $ 30.26
   accounts, certificates of deposit, or shares
   in banks, savings and loan, thrift, building        Account No. 0020226092
   and loan, and homestead associations, or            Location: In debtor's possession
   credit unions, brokerage houses, or
   cooperatives.



3. Security deposits with public utilities,        X
   telephone companies, landlords, and
   others.
4. Household goods and furnishings,                    Household Goods                                                                                    $ 5,000.00
   including audio, video, and computer
   equipment.                                          Location: In debtor's possession


5. Books, pictures and other art objects,          X
   antiques, stamp, coin, record, tape,
   compact disc, and other collections or
   collectibles.

6. Wearing apparel.                                    Clothing                                                                                           $ 1,700.00
                                                       Location: In debtor's possession


7. Furs and jewelry.                               X

8. Firearms and sports, photographic, and          X
   other hobby equipment.

9. Interests in insurance policies. Name           X
   insurance company of each policy and
   itemize surrender or refund value of each.
10. Annuities. Itemize and name each issuer.       X

11. Interest in an education IRA as                X
    defined in 26 U.S.C. 530(b)(1) or under
    a qualified State tuition plan as defined in
    26 U.S.C. 529(b)(1). Give particulars.
    (File separately the record(s) of any such
    interest(s). 11 U.S.C. 521(c).)




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In re Daymon S. Patterson                                                                                ,     Case No.
                         Debtor(s)                                                                                                            (if known)


                                                        SCHEDULE B-PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                                                                                                  Current
               Type of Property                    N              Description and Location of Property                             Value
                                                                                                                             of Debtor's Interest,
                                                   o                                                           Husband--H    in Property Without
                                                                                                                   Wife--W      Deducting any
                                                   n                                                                          Secured Claim or
                                                                                                                  Joint--J
                                                   e                                                         Community--C         Exemption

12. Interests in IRA, ERISA, Keogh, or other           401K                                                                        $ 1,552.65
    pension or profit sharing plans. Give
    particulars.                                       Location: In debtor's possession


13. Stock and interests in incorporated and        X
    unincorporated businesses. Itemize.

14. Interests in partnerships or joint ventures.   X
    Itemize.

15. Government and corporate bonds and             X
    other negotiable and non-negotiable
    instruments.
16. Accounts Receivable.                           X

17. Alimony, maintenance, support, and             X
    property settlements to which the debtor
    is or may be entitled. Give particulars.
18. Other liquidated debts owed to debtor          X
    including tax refunds. Give particulars.

19. Equitable or future interests, life estates,   X
    and rights or powers exercisable for the
    benefit of the debtor other than those
    listed in Schedule of Real Property.

20. Contingent and non-contingent interests        X
    in estate of a decedent, death benefit
    plan, life insurance policy, or trust.
21. Other contingent and unliquidated claims       X
    of every nature, including tax refunds,
    counterclaims of the debtor, and rights to
    setoff claims. Give estimated value of
    each.
22. Patents, copyrights, and other intellectual    X
    property. Give particulars.

23. Licenses, franchises, and other general        X
    intangibles. Give particulars.

24. Customer lists or other compilations           X
    containing personally identifiable
    information (as described in 11 U.S.C.
    101(41A)) provided to the debtor by
    individuals in connection with obtaining
    a product or service from the debtor
    primarily for personal, family, or
    household purposes.
25. Automobiles, trucks, trailers and other            2004 Infiniti FX35                                                                  $ 0.00
    vehicles and accessories.
                                                       Location: In debtor's possession


26. Boats, motors, and accessories.                X

27. Aircraft and accessories.                      X




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In re Daymon S. Patterson                                                                           ,              Case No.
                         Debtor(s)                                                                                                                    (if known)


                                                   SCHEDULE B-PERSONAL PROPERTY
                                                                      (Continuation Sheet)

                                                                                                                                          Current
                 Type of Property             N              Description and Location of Property                                          Value
                                                                                                                                     of Debtor's Interest,
                                              o                                                                    Husband--H        in Property Without
                                                                                                                       Wife--W          Deducting any
                                              n                                                                                       Secured Claim or
                                                                                                                      Joint--J
                                              e                                                                  Community--C             Exemption

28. Office equipment, furnishings, and        X
    supplies.

29. Machinery, fixtures, equipment and        X
    supplies used in business.

30. Inventory.                                X

31. Animals.                                  X

32. Crops - growing or harvested.             X
    Give particulars.

33. Farming equipment and implements.         X

34. Farm supplies, chemicals, and feed.       X

35. Other personal property of any kind not   X
    already listed. Itemize.




Page       3      of    3                                                                                     Total                          $ 8,282.91
                                                                                                                  (Report total also on Summary of Schedules.)
                                                                                                        Include amounts from any continuation sheets attached.
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In re
        Daymon S. Patterson                                                                     ,                  Case No.
                          Debtor(s)                                                                                                               (if known)


                                    SCHEDULE C-PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:           Check if debtor claims a homestead exemption that exceeds $136,875.
(Check one box)
   11 U.S.C. § 522(b) (2)
   11 U.S.C. § 522(b) (3)




                                                                    Specify Law                                 Value of                 Current
             Description of Property                               Providing each                               Claimed             Value of Property
                                                                     Exemption                                 Exemption            Without Deducting
                                                                                                                                       Exemptions

Peoples United Bank - Checking                      11 U.S.C. § 522(d)(5)                                             $ 30.26                   $ 30.26

Household Goods                                     11 USC 522(d)(3)                                             $ 5,000.00                $ 5,000.00

Clothing                                            11 USC 522(d)(3)                                             $ 1,700.00                $ 1,700.00

401K                                                11 USC 522(d)(12)                                            $ 1,552.65                $ 1,552.65




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B6D (Official Form 6D) (12/07)



In re Daymon S. Patterson                                                                           ,                                    Case No.
                                          Debtor(s)                                                                                                                              (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

          State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims
secured by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with
the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of
secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
          List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name
and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name.
See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,”
include the entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether
the husband, wife, both of them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column
labeled “Husband, Wife, Joint, or Community.”
          If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the
column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in
more than one of these three columns.)
          Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the
boxes labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without
Deducting Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report
the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.



   Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                Creditor's Name and                           Date Claim was Incurred, Nature                                         Amount of Claim                   Unsecured
                  Mailing Address                             of Lien, and Description and Market                                           Without                   Portion, If Any
                                                                                                                    Unliquidated


              Including ZIP Code and
                                                                                                                    Contingent




                                                              Value of Property Subject to Lien                                       Deducting Value
                                                  Co-Debtor




                  Account Number
                                                                                                                    Disputed



              (See Instructions Above.)                       H--Husband                                                                 of Collateral
                                                              W--Wife
                                                              J--Joint
                                                              C--Community
Account No: 4654                                                                                                                            $ 1,907.00                     $ 1,907.00
Creditor # : 1                                                  Vehicle Lease
Infinity Financial Services
P.O. Box 371447
Pittsburgh PA 15250-7339

                                                                 Value:   $ 0.00
Account No:




                                                                 Value:
Account No:




                                                                 Value:

No continuation sheets attached                                                                                Subtotal $                   $ 1,907.00                     $ 1,907.00
                                                                                                            (Total of this page)
                                                                                                                     Total $                $ 1,907.00                     $ 1,907.00
                                                                                                        (Use only on last page)
                                                                                                                                   (Report also on Summary of   (If applicable, report also on
                                                                                                                                   Schedules.)                  Statistical Summary of
                                                                                                                                                                Certain Liabilities and
                                                                                                                                                                Related Data)
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   In re Daymon S. Patterson                                                                                                ,                               Case No.
                                                      Debtor(s)                                                                                                                 (if known)
                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured
   claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code,
   and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the
   filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

         The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor
   chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor
   child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

         If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
   appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them or the
   marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is
   contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is
   disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

         Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the
   box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to
   priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts
   report this total also on the Statistical Summary of Certain Liabilities and Related Data.

          Report the total of amounts NOT entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not
   entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Individual debtors with primarily consumer
   debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

   TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

          Domestic Support Obligations
          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
          U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
          independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation
          of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
          Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
          were not delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and Certain Other Debts Owed to Governmental Units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to Maintain the Capital of an Insured Depository Institution
          Claims based on commitments to FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the
          Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507(a)(9).
          Claims for Death or Personal Injury While Debtor Was Intoxicated
          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
          drug, or another substance. 11 U.S.C. § 507(a)(10).

*Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                                      No continuation sheets attached
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In re Daymon S. Patterson                                                                                        ,                                   Case No.
                                         Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
      State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with
the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials
and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation
sheet provided.

      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the
marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

     If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If
the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

        Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on the
Summary of Schedules, and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain
Liabilities and Related Data.
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.


         Creditor's Name, Mailing Address                                   Date Claim was Incurred,                                                                                          Amount of Claim
                                                                            and Consideration for Claim.




                                                                                                                                                                    Unliquidated
                  including Zip Code,
                                                       Co-Debtor




                                                                                                                                                      Contingent
                                                                             If Claim is Subject to Setoff, so State.




                                                                                                                                                                                   Disputed
                 And Account Number
                                                                   H--Husband
                 (See instructions above.)                         W--Wife
                                                                   J--Joint
                                                                   C--Community
          7548
Account No:                                                                                                                                                                                       $ 148,752.33
Creditor # : 1                                                         Mortgage
America's Servicing Company
P.O. Box 10388
Des Moines IA 50306-0388


Account No:     7548
Representing:                                                          Hunt, Liebert, Chester & Jacob
                                                                       50 Weston Street
America's Servicing Company
                                                                       Hartford CT 06120



          6755
Account No:                                                                                                                                                                                            $ 274.36
Creditor # : 2                                                         Purchases
Bill Me Later
P.O. Box 105658
Atlanta GA 30348-5658


          3502
Account No:                                                                                                                                                                                         $ 5,400.18
Creditor # : 3                                                         Purchases
Cardmember Services
P.O. Box 15153
Wilmington DE 19886-5153


     2 continuation sheets attached                                                                                                                 Subtotal $                                   $ 154,426.87
                                                                                                                                                                   Total $
                                                                      (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules
                                                                           and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
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In re Daymon S. Patterson                                                                                         ,                                   Case No.
                                           Debtor(s)                                                                                                                                                     (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                          Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                  including Zip Code,




                                                        Co-Debtor




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          3123
Account No:                                                                                                                                                                                          $ 2,284.32
Creditor # : 4                                                          Purchases
Cardmember Services
P.O. Box 15153
Wilmington DE 19886-5153


          5442
Account No:                                                                                                                                                                                          $ 6,473.94
Creditor # : 5                                                          Purchases
Citibank
Po Box 6931
The Lakes NV 88901-6931


          6706
Account No:                                                                                                                                                                                         $ 16,151.98
Creditor # : 6                                                          second mortgage
Ditech
P.O. Box 9001719
Louisville KY 40290-1719


          3165
Account No:                                                                                                                                                                                             $ 183.60
Creditor # : 7                                                          Fees
Planet Fitness
836 Foxon Road
New Haven CT 06513


Account No:     3165
Representing:                                                           Advanced Collection Services
                                                                        P.O. Box 626
Planet Fitness                                                          Plainville CT 06062-0626



          4949
Account No:                                                                                                                                                                                          $ 5,885.64
Creditor # : 8                                                          Purchases
Wal Mart Discover
P.O. Box 960024
Orlando FL 32896-0024




Sheet No.      1 of        2 continuation sheets attached to Schedule of                                                                             Subtotal $                                     $ 30,979.48
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                       (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules
                                                                            and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
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In re Daymon S. Patterson                                                                                         ,                                   Case No.
                                           Debtor(s)                                                                                                                                                     (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                          Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                  including Zip Code,




                                                        Co-Debtor




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          4199
Account No:                                                                                                                                                                                          $ 1,240.00
Creditor # : 9                                                          Purchases
Wells Fargo Financial
Po Box 94498
Las Vegas NV 89193-4498


          -078
Account No:                                                                                                                                                                                              $ 51.94
Creditor # : 10                                                         Purchases
WFNNB- King Size
P.O. Box 659728
San Antonio TX 78265-9728


Account No:




Account No:




Account No:




Account No:




Sheet No.      2 of        2 continuation sheets attached to Schedule of                                                                             Subtotal $                                      $ 1,291.94
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                       (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules                                 $ 186,698.29
                                                                            and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
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In re Daymon S. Patterson                                                                                      / Debtor             Case No.
                                                                                                                                                                        (if known)


                  SCHEDULE G-EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State the nature of
debtor's interests in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing
addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See,
11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).



   Check this box if the debtor has no executory contracts or unexpired leases.

               Name and Mailing Address,                                                        Description of Contract or Lease and
                 Including Zip Code, of                                                              Nature of Debtor's Interest.
                 Other Parties to Lease                                                State whether Lease is for Nonresidential Real Property.
                      or Contract.                                                      State Contract Number of any Government Contract.

Infinity Financial Service                                      Contract Type: Vehicle lease
P.O. Box 371447                                                 Terms: 72 months $476.99/month
Pittsburgh PA 15250-7339                                        Beginning date:
                                                                Debtor's Interest: Lessor
                                                                Description: 2004 Infiniti FX35
                                                                Buyout Option:




                                                                                                                                                         Page      1 of          1
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In re Daymon S. Patterson                                                                          / Debtor          Case No.
                                                                                                                                                  (if known)


                                                    SCHEDULE H-CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight year
period immediately preeceding the commencement of the case, identify the name of the debtors spouse and of any former spouse who resides or resided
with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years
immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the
child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr.
P. 1007(m).
   Check this box if the debtor has no codebtors.

                        Name and Address of Codebtor                                                 Name and Address of Creditor




                                                                                                                                        Page     1 of      1
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In re Daymon S. Patterson                                                                                 ,                    Case No.
                                                Debtor(s)                                                                                                 (if known)


                          SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on this
form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
   Debtor's Marital                                                                DEPENDENTS OF DEBTOR AND SPOUSE
     Status:                       RELATIONSHIP(S):                                                                                AGE(S):
       Single                      daughter                                                                                        11
  EMPLOYMENT:                                                   DEBTOR                                                                       SPOUSE

  Occupation                     Lowes Zoning Manager
  Name of Employer               Lowes Home Improvement
  How Long Employed              3.5 years
  Address of Employer            115 Foxon Blvd
                                 East Haven CT 06512
  INCOME: (Estimate of average or projected monthly income at time case filed)                                            DEBTOR                             SPOUSE
  1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $                       3,991.87 $                              0.00
  2. Estimate monthly overtime                                                                             $                           0.00 $                              0.00
  3. SUBTOTAL                                                                                              $                       3,991.87 $                              0.00
  4. LESS PAYROLL DEDUCTIONS
      a. Payroll taxes and social security                                                                 $                            769.90    $                        0.00
      b. Insurance                                                                                         $                              0.00    $                        0.00
      c. Union dues                                                                                        $                              0.00    $                        0.00
      d. Other (Specify): Insurance            and dental                                                  $                             89.48    $                        0.00
  5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $                            859.38 $                           0.00
  6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $                       3,132.49       $                        0.00
  7. Regular income from operation of business or profession or farm (attach detailed statement)           $                           0.00       $                        0.00
  8. Income from real property                                                                             $                           0.00       $                        0.00
  9. Interest and dividends                                                                                $                           0.00       $                        0.00
  10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that          $                           0.00       $                        0.00
  of dependents listed above.
  11. Social security or government assistance
    (Specify):                                                                                             $                              0.00 $                           0.00
  12. Pension or retirement income                                                                         $                              0.00 $                           0.00
  13. Other monthly income
    (Specify):                                                                                             $                              0.00 $                           0.00

  14. SUBTOTAL OF LINES 7 THROUGH 13                                                                          $                        0.00 $                              0.00
  15. AVERAGE MONTHLY INCOME               (Add amounts shown on lines 6 and 14)                              $                    3,132.49 $                              0.00
  16. COMBINED AVERAGE MONTHLY INCOME:                 (Combine column totals                                                  $                  3,132.49
    from line 15; if there is only one debtor repeat total reported on line 15)
                                                                                                                  (Report also on Summary of Schedules and, if applicable, on
                                                                                                                   Statistical Summary of Certain Liabilities and Related Data)


  17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:




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In re Daymon S. Patterson                                                                                     ,                           Case No.
                                                   Debtor(s)                                                                                                                 (if known)

                          SCHEDULE J-CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR

      Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family. Prorate any payments made
bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from the
deductions from income allowed on Form 22 A or 22C.
    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures labeled
    "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home) .....................................................................................................................
                                                                                                                                                   $                     750.00
       a. Are real estate taxes included?        Yes         No
       b. Is property insurance included?        Yes         No
 2. Utilities: a. Electricity and heating fuel                                                                                                            $                    130.00
                                                ..................................................................................................................................................
                b. Water and sewer                                                                                                                        $                      30.00
                c. Telephone       ..............................................................................................................................................................
                                                                                                                                                          $                    140.00
                d. Other      cable                                                                                                                       $                      50.00
                  Other
                             ...................................................................................................................................................................
                                                                                                                                                          $                        0.00

 3. Home maintenance (repairs and upkeep)                                                                                                                 $                         0.00
                                                   ..............................................................................................................................................
 4. Food                                                                                                                                                  $                     350.00
                                                                                                                                                                           100.00
 5. Clothing .................................................................................................................................................................................
                                                                                                                                                     $
 6. Laundry and dry cleaning                                                                                                                              $                      25.00
 7. Medical and dental expenses                                                                                                                           $                        0.00
                                         ........................................................................................................................................................
 8. Transportation (not including car payments)                                                                                                           $                     200.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                     $                     150.00
                                                                             ..................................................................................................................
 10. Charitable contributions                                                                                                                             $                        0.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
              a. Homeowner's or renter's                                                                                                                  $                         0.00
                                             ....................................................................................................................................................
              b. Life                                                                                                                                     $                        0.00
              c. Health                                                                                                                                  $                         0.00
                           ......................................................................................................................................................................
              d. Auto                                                                                                                                 $                     125.00
              e. Other                                                                                                                                $                         0.00
                      ........................................................................................................................................................................
                Other                                                                                                                                 $                         0.00


  12. Taxes (not deducted from wages or included in home mortgage)
  (Specify)                                                                                                                                               $                        0.00
  13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
           a. Auto                                                                                                                                        $                         0.00
                          ........................................................................................................................................................................
           b. Other:      Auto lease                                                                                                                      $                     476.99
           c. Other:                                                                                                                                      $                         0.00
                          ........................................................................................................................................................................

  14. Alimony, maintenance, and support paid to others                                                                                                    $                    516.34
                                                              ..................................................................................................................................
  15. Payments for support of additional dependents not living at your home                                                                              $                        0.00
  16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                       $                        0.00
                                                                                                         ....................................................................................
  17. Other:                                                                                                                                             $                        0.00
     Other:                                                                                                                                              $                        0.00
                  ...............................................................................................................................................................................
                                                                                                                                                                                   0.00
  18. AVERAGE MONTHLY EXPENSES Total lines 1-17. Report also on Summary of Schedules                                                                      $                 3,043.33
     and, if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
  19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:


  20. STATEMENT OF MONTHLY NET INCOME
      a. Average monthly income from Line 16 of Schedule I                                                                                                $                 3,132.49
      b. Average monthly expenses from Line 18 above                                                                                                      $                 3,043.33
      c. Monthly net income (a. minus b.)                                                                                                                 $                    89.16
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                                              UNITED STATES BANKRUPTCY COURT
                                                   DISTRICT OF CONNECTICUT


In re: Daymon S. Patterson                                                                                                     Case No.




                                                               STATEMENT OF FINANCIAL AFFAIRS
           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both
spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner,
family farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the
individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's
parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not diclose the child's name. See, 11 U.S.C. § 112 and Fed. R. Bankr. P.
1007(m).

           Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions
19-25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question, use
and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.



                                                                                DEFINITIONS
           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case, any of the
following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than
a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor my also be "in business" for the purpose of
this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor's primary
employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of a
corporation debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. §101.




          1. Income from employment or operation of business
 None     State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business, including part-time
          activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this case was commenced. State also the
          gross amounts received during the two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis
          of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed,
          state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is
          filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT                                                       SOURCE

Year to date:39,696.00
   Last Year:42,644.00
Year before:77,314.00


          2. Income other than from employment or operation of business
 None     State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's business during the two years
          immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing
          under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
           filed.)




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       3. Payments to creditors
None    Complete a. or b., as appropriate, and c.

        a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other debts to any
        creditor, made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that constitutes or is affected by
        such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an
        alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter
        13 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




None    b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately preceding the
        commencement of this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $5,475. If the debtor is an
        individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
        repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors filingunder chapter 12 or chapter 13 must
        include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition
        is not filed.)




None    c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or were
        insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the
        spouses are separated and a joint petition is not filed.)




       4. Suits and administrative proceedings, executions, garnishments and attachments
None    a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this bankruptcy case.
        (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless the
        spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                                                                             COURT OR AGENCY
AND CASE NUMBER                        NATURE OF PROCEEDING                                   AND LOCATION                                 STATUS OR DISPOSITION

CV07-5015429-S                         Foreclosure                                          Judicial District                              Judgment
Deutsche Bank                                                                               of New Haven
National Trust                                                                              235 Church Street,
Company, et al v.                                                                           New Haven, CT 06512
Patterson, Daymon
et al


None    b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding the commencement
        of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint
        petition is filed, unless the spouses are separated and a joint petition is not filed.)




       5. Repossessions, foreclosures and returns
None    List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to the seller, within
        one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
        property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       6. Assignments and receiverships
None    a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case. (Married debtors
        filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
        and a joint petition is not filed.)




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None    b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the commencement of
        this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition
        is filed, unless the spouses are separated and a joint petition is not filed.)




       7. Gifts
None    List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to family
        members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100 per recipient. (Married debtors
        filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses are
        separated and a joint petition is not filed.)




       8. Losses
None    List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the commencement of
        this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the
        spouses are separated and a joint petition is not filed.)




       9. Payments related to debt counseling or bankruptcy
None    List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt consolidation,
        relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement of this case.

                                                          DATE OF PAYMENT,                                               AMOUNT OF MONEY OR
NAME AND ADDRESS OF PAYEE                                 NAME OF PAYER IF OTHER THAN DEBTOR                             DESCRIPTION AND VALUE OF PROPERTY

Payee: Joseph J. D'Agostino,                              Date of Payment:                                               $0.00
Jr.                                                       Payor: Daymon S. Patterson
Address:
1062 Barnes Road
Suite 304
Wallingford, CT 06492


       10. Other transfers
None    a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either absolutely or as
        security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by
        either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




None    b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar device of which
        the debtor is a benificiary.




       11. Closed financial accounts
None    List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise transferred within one
        year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts, certificates of deposit, or other instruments;
        shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial institutions. (Married
        debtors filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both spouses whether or not a joint
        petition is filed, unless the spouses are separated and a joint petition is not filed.)




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       12. Safe deposit boxes
None    List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately preceding the
        commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a
        joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       13. Setoffs
None    List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this case. (Married
        debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless the spouses
        are separated and a joint petition is not filed.)




       14. Property held for another person
None    List all property owned by another person that the debtor holds or controls.




       15. Prior address of debtor
None    If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during that period and
        vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                                                                                                    DATES OF
ADDRESS                                                                 NAME USED                                                                   OCCUPANCY

Debtor: Daymon Patterson                                                Name(s):
Address:310 Forbes Avenue, New
Haven, CT 06512


       16. Spouses and Former Spouses
None    If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New
        Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case, identify the name of the debtor's
        spouse and of any former spouse who resides or resided with the debtor in the community property state.




       17. Environmental Information
None    For the purpose of this question, the following definitions apply:

        "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances, wastes or
        material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating the cleanup of these
        substances, wastes, or material.

        "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the debtor,
        including, but not limited to disposal sites.

        "Hazardous Material" means anything defined as hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant or similar
        termunder an Environmental Law:

        a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or potentially liable under
        or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:




                                                                                                                         Statement of Affairs - Page 4
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None    b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate the
        governmental unit to which the notice was sent and the date of the notice.




None    c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law, with respect to which the debtor is or was a party.
        Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.




        18. Nature, location and name of business
None    a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates of all
        businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole proprietor, or was
        self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the commencement of this case, or in which
        the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding the commencement of this case

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of all
        businesses      in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately preceding the
        commencment of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of all
        businesses      in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately preceding the
        commencment of this case.




None    b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.




[If completed by an individual or individual and spouse]


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and that
they are true and correct.



       Date   12/31/2008                            Signature       /s/ Daymon S. Patterson
                                                    of Debtor

                                                    Signature
       Date
                                                    of Joint Debtor
                                                    (if any)




                                                                                                                             Statement of Affairs - Page 5
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                                                UNITED STATES BANKRUPTCY COURT
                                                     DISTRICT OF CONNECTICUT


In re Daymon S. Patterson                                                                                         Case No.
                                                                                                                  Chapter 7



                                                                                                       / Debtor




                                CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
      Part A -     Debts Secured by property of the estate. (Part A must be completed for EACH debt which is secured by property of the estate. Attach
                   additional pages if necessary.)


Property No. 1

Creditor's Name :                                                                Describe Property Securing Debt :
                                                                                         None


  Property will be (check one) :

            Surrendered              Retained

  If retaining the property, I intend to (check at least one) :

            Redeem the property

            Reaffirm the debt

            Other. Explain                                                                                  (for example, avoid lien using 11 U.S.C § 522 (f)).

  Property is (check one) :

            Claimed as exempt                 Not claimed as exempt



Part B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease. Attach additional pages
         if necessary.)
Property No. 1
Lessor's Name:                                                    Describe Leased Property:                                       Lease will be Assumed
                                                                                                                                  persuant to 11 U.S.C. §
      Infinity Financial Service                                   2004 Infiniti FX35                                             365(p)(2):

                                                                                                                                      Yes                No


                                                                      Signature of Debtor(s)
        I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
        personal property subject to an unexpired lease.

Date: 12/31/2008                                              Debtor: /s/     Daymon S. Patterson


Date:                                                         Joint Debtor:




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                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF CONNECTICUT

        Daymon S. Patterson                                                                         Case No.
In re
                                                                                                    Chapter 7
                                                                                         / Debtor
        Attorney for Debtor:   Joseph J. D'Agostino, Jr.

                                   STATEMENT PURSUANT TO RULE 2016(B)

The undersigned, pursuant to Rule 2016(b), Bankruptcy Rules, states that:
1. The undersigned is the attorney for the debtor(s) in this case.

2. The compensation paid or agreed to be paid by the debtor(s), to the undersigned is:
   a) For legal services rendered or to be rendered in contemplation of and in
      connection with this case . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $            1,500.00
   b) Prior to the filing of this statement, debtor(s) have paid . . . . . . . . . . . . . . . $                   1,500.00
   c) The unpaid balance due and payable is . . . . . . . . . . . . . . . . . . . . . . . . . . . $                    0.00

3. $             299.00           of the filing fee in this case has been paid.

4. The Services rendered or to be rendered include the following:
   a) Analysis of the financial situation, and rendering advice and assistance to the debtor(s) in determining whether to
      file a petition under title 11 of the United States Code.
   b) Preparation and filing of the petition, schedules, statement of financial affairs and other documents required by the
      court.
   c) Representation of the debtor(s) at the meeting of creditors.

5. The source of payments made by the debtor(s) to the undersigned was from earnings, wages and compensation for
   services performed, and
     None other

6. The source of payments to be made by the debtor(s) to the undersigned for the unpaid balance remaining, if any, will
   be from earnings, wages and compensation for services performed, and
     None other

7. The undersigned has received no transfer, assignment or pledge of property from debtor(s) except the following for
   the value stated:
      None

8. The undersigned has not shared or agreed to share with any other entity, other than with members of undersigned's
   law firm, any compensation paid or to be paid except as follows:
      None

Dated: 12/31/2008                               Respectfully submitted,


                                             X /s/ Joseph J. D'Agostino, Jr.
                       Attorney for Petitioner: Joseph J. D'Agostino, Jr.
                                                The Law Offices of Joseph J. D'Agostino
                                                1062 Barnes Road
                                                Suite 304
                                                Wallingford CT 06492
                                                203-265-5222
                                                joseph@lawjjd.com
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                                 UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF CONNECTICUT



In re Daymon S. Patterson                                                                Case No.
                                                                                         Chapter 7
                                                                          / Debtor
    Attorney for Debtor:   Joseph J. D'Agostino, Jr.



                                      VERIFICATION OF CREDITOR MATRIX


                 The above named Debtor(s) hereby verify that the attached master mailing list of creditors is true

   and correct to the best of our knowledge.




Date: 12/31/2008                                                  /s/ Daymon S. Patterson
                                                                  Debtor
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                    Advanced Collection Services
                    P.O. Box 626
                    Plainville, CT 06062-0626

                    America's Servicing Company
                    P.O. Box 10388
                    Des Moines, IA 50306-0388

                    Bill Me Later
                    P.O. Box 105658
                    Atlanta, GA 30348-5658

                    Cardmember Services
                    P.O. Box 15153
                    Wilmington, DE 19886-5153

                    Citibank
                    Po Box 6931
                    The Lakes, NV    88901-6931

                    Ditech
                    P.O. Box 9001719
                    Louisville, KY 40290-1719

                    Hunt, Liebert, Chester & Jacob
                    50 Weston Street
                    Hartford, CT 06120

                    Infinity Financial Service
                    P.O. Box 371447
                    Pittsburgh, PA 15250-7339

                    Infinity Financial Services
                    P.O. Box 371447
                    Pittsburgh, PA 15250-7339

                    Planet Fitness
                    836 Foxon Road
                    New Haven, CT 06513

                    United States Attorney
                    PO Box 1824
                    New Haven, CT 06508

                    Wal Mart Discover
                    P.O. Box 960024
                    Orlando, FL 32896-0024

                    Wells Fargo Financial
                    Po Box 94498
                    Las Vegas, NV 89193-4498

                    WFNNB- King Size
                    P.O. Box 659728
                    San Antonio, TX 78265-9728
